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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

C.D.A., minor child, and MR. A.,               :
his father; and E.A.Q.A., minor                :
child, and MR. Q., his father,                 :
                                               :
                             Plaintiffs,       :           CIVIL ACTION NO. 21-469
                                               :
       v.                                      :
                                               :
UNITED STATES OF AMERICA,                      :
                                               :
                             Defendant.        :

                                           ORDER

       AND NOW, this 23rd day of March, 2021, the plaintiffs having filed a motion for leave to

file under pseudonyms (Doc. No. 4), it is hereby ORDERED that the court will hold a telephone

conference on Thursday, March 25, 2021, at 11:30 a.m. to discuss the motion. Counsel for the

parties shall call 1-571-353-2300 and use pin 363973916# to enter the conference call.


                                                    BY THE COURT:



                                                    /s/ Edward G. Smith
                                                    EDWARD G. SMITH, J.
